      Case 1-17-46613-nhl            Doc 51-2       Filed 04/06/18          Entered 04/06/18 14:17:17




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------x
In re
                                                                Chapter 7
Vanessa D. Calloway-Smith,
                                                                Case No. 16-44302-cec
                                    Debtor.
------------------------------------------------------------x

                                             Certificate of Service

I hereby certify that the within Second Amended Plan of Reorganization, Second Amended
Disclosure Statement and Exhibits has been served upon the parties listed below in the
manner stated herein on April 6, 2018.

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                                                                         /s/
                                                                      Jasmin Gomez
Sworn to before me this
6th day of April, 2018



  /s/
NOTARY PUBLIC
